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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 24-20286-CR-ALTONAGA

  UNITED STATES OF AMERICA

  v.

  JEFFREY KAMLET,

              Defendant.
  ________________________________/

                               JOINT MOTION TO CONTINUE TRIAL

           The United States and defendant Jeffrey Kamlet hereby jointly move this court for a two-week

  continuance of the trial, currently set for the February 24, 2025 trial period. As grounds therefor, the parties

  assert the following:

           1.      There are difficult legal and evidentiary issues faced by both parties in this case. Both

  parties are seeking a resolution that will avoid a lengthy suppression hearing and thereafter, if the

  suppression motion is denied, a jury trial.

           2.      Pre-trial diversion is one potential resolution under active consideration. This would

  require approval by management in the U.S. Attorney’s Office. That prospect is currently undergoing such

  review, but it has not been completed.

           3.      The parties are mindful of the court’s intention to avoid any further delays in this case.

  However, this motion is made in good faith in an effort to reach a just result.

       Wherefore, the parties seek a two-week continuance to further their efforts at resolving the case.

                                                              Respectfully submitted,

                                                              HAYDEN PATRICK O’BYRNE
                                                              UNITED STATES ATTORNEY

                                                     By:      s/ Frank H. Tamen
                                                              FRANK H. TAMEN
                                                              Assistant United States Attorney
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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically

  provided to defense counsel Jayne Weintraub and filed on the 12th day of February, 2025 with the

  Clerk of the Court using CM/ECF.


                                                     /s/ Frank H. Tamen
                                                     Frank H. Tamen
                                                     Assistant United States Attorney




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